DOCUMENTS UNDER SEAL
                      Case 5:18-cr-00258-EJD Document 5 Filed 06/15/18 Page 1 of
                                                            TOTAL TIME (m ins):
                                                                                   1
                                                                                23 mins
M AGISTRATE JUDGE                         DEPUTY CLERK                             REPORTER/FTR
M INUTE ORDER                            Lili M. Harrell                           1:46pm - 2:09pm
MAGISTRATE JUDGE                          DATE                                     NEW CASE          CASE NUMBER
Susan van Keulen                          June 15, 2018                                              18-cr-00258 LHK-01
                                                     APPEARANCES
DEFENDANT                                  AGE     CUST  P/NP   ATTORNEY FOR DEFENDANT                     PD.      RET.
Elizabeth A. Holmes                                Y        P       John Cline, Kevin Downey               APPT.
U.S. ATTORNEY                              INTERPRETER                           FIN. AFFT               COUNSEL APPT'D
Jeff Schenk, John Bostic                                                         SUBMITTED

PROBATION OFFICER            PRETRIAL SERVICES OFFICER              DEF ELIGIBLE FOR              PARTIAL PAYMENT
                             Allen Lew                              APPT'D COUNSEL                OF CJA FEES
                                       PROCEEDINGS SCHEDULED TO OCCUR
       INITIAL APPEAR             PRELIM HRG       MOTION           JUGM'T & SENTG                            STATUS
                                                                                                              TRIAL SET
       I.D. COUNSEL               ARRAIGNMENT              BOND HEARING            IA REV PROB. or            OTHER
                                                                                   or S/R
       DETENTION HRG              ID / REMOV HRG           CHANGE PLEA            PROB. REVOC.                ATTY APPT
                                                                                                              HEARING
                                                    INITIAL APPEARANCE
        ADVISED                 ADVISED                    NAME AS CHARGED            TRUE NAME:
        OF RIGHTS               OF CHARGES                 IS TRUE NAME
                                                       ARRAIGNM ENT
       ARRAIGNED ON               ARRAIGNED ON               READING W AIVED              W AIVER OF INDICTMENT FILED
       INFORMATION                INDICTMENT                 SUBSTANCE
                                                        RELEASE
      RELEASED             ISSUED                   AMT OF SECURITY         SPECIAL NOTES                PASSPORT
      ON O/R               APPEARANCE BOND          $ 500,000 P/R                                        SURRENDERED
                                                                                                         DATE: 6/15/2018w
PROPERTY TO BE POSTED                          CORPORATE SECURITY                       REAL PROPERTY:
    CASH    $


      MOTION          PRETRIAL                DETAINED          RELEASED        DETENTION HEARING              REMANDED
      FOR             SERVICES                                                  AND FORMAL FINDINGS            TO CUSTODY
      DETENTION       REPORT                                                    W AIVED
ORDER REMOVED TO THE DISTRICT OF
                                                            PLEA
    CONSENT                     NOT GUILTY                 GUILTY                   GUILTY TO COUNTS:
    ENTERED
    PRESENTENCE                 CHANGE OF PLEA             PLEA AGREEMENT           OTHER:
    REPORT ORDERED                                         FILED
                                                       CONTINUANCE
TO:                              ATTY APPT                BOND                    STATUS RE:
8/15/2018                        HEARING                  HEARING                 CONSENT                  TRIAL SET

AT:                              SUBMIT FINAN.              PRELIMINARY           CHANGE OF                STATUS
                                 AFFIDAVIT                  HEARING               PLEA
9:15am                                                      _____________
BEFORE HON.                      DETENTION                  ARRAIGNMENT            MOTIONS                 JUDGMENT &
                                 HEARING                                                                   SENTENCING
Koh
       TIME W AIVED              TIME EXCLUDABLE            IDENTITY /            PRETRIAL                 PROB/SUP REV.
                                 UNDER 18 § USC             REMOVAL               CONFERENCE               HEARING
                                 3161                       HEARING
                                                 ADDITIONAL PROCEEDINGS
Court grants Govt's oral motion to unseal case. Govt to file related case notice in a matter pending before Judge Freeman.


                                                                                        DOCUMENT NUMBER:
